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     10
                                    UNITED STATES DISTRICT COURT
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     12                           CENTRAL DISTRICT OF CALIFORNIA
     13    MOOG INC.,                             Case No. 2:22-cv-09094-GW-MAR
     14
                            Plaintiff,            Hon. George H. Wu
     15
                   v.
     16                                           [PROPOSED] ORDER GRANTING
           SKYRYSE, INC., ROBERT                  JOINT STIPULATION REGARDING
     17                                           DEADLINE FOR MOOG’S MOTION
           ALIN PILKINGTON, MISOOK
     18    KIM, and DOES NOS. 1-50,               FOR LEAVE TO FILE AMENDED
                                                  COMPLAINT, AND DEFENDANTS’
     19                     Defendants.           RESPONSES THERETO
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      1            The Court, having reviewed the stipulation submitted concurrently herewith,
      2   and good cause appearing therefore, hereby ORDERS THAT:
      3            1.       In lieu of an Amended Complaint filed by May 10, 2023 solely in
      4                     response to the limited leave granted in the Court’s MTD Order (Dkt.
      5                     439), Moog may file on or before May 20, 2023 a Motion for Leave to
      6                     File an Amended Complaint by which Moog can seek to add
      7                     additional claims or parties to this lawsuit, unless the Parties stipulate
      8                     (subject to the Court’s approval) on or prior to that date that Moog
      9                     may file the Amended Complaint, in which case Moog would file an
     10                     Amended Complaint instead of a Motion for Leave to Amend;
     11            2.       Defendants may oppose Moog’s forthcoming Motion for Leave to
     12                     File an Amended Complaint in the ordinary course and under the
     13                     procedures set forth under the Local Rules;
     14            3.       Defendants’ deadline to respond to any Amended Complaint filed by
     15                     Moog (including Skyryse’s deadline to file any Amended
     16                     Counterclaims), is 21 days from the later of: a) the Court’s ruling on
     17                     Moog’s forthcoming Motion for Leave to File an Amended
     18                     Complaint; or b) the entry of any Amended Complaint filed by Moog.
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     20    IT IS SO ORDERED.
     21    Dated: April _____, 2023
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     23                                                ______________________________
                                                         The Honorable George H. Wu
     24                                                  United States District Court Judge

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